                Case 1:23-cr-00047-MHC-JEM Document 12 Filed 02/07/23 Page 1 of 1
ORIGINAL
   U.S. Department of Justice
   United States Attorney



                                                                     February 6, 2023
                                                                                      ql..ED IN OPEN COURT
                                                                     Date Submitted       u.S.D.C. - Atlanta
                                IN THE UNITED STATES DISTRICT COURT                         FEB -72023
                                  FOR THE NORTHERN DISTRICT OF GEORGIA
                                                                                     KEVIN P       ER, Clerk
                                                                                                   Deputy Clerk
   UNIIED STATES OF AMERICA                                                     Informato

   V.
                                                                 1:23CR0047
   KRISTOPHER KNEUBUHLER
                                                           February 7, 2023
                                                           Date of Indictment

                                REQUEST FOR ARRAIGNMENT - Defendant on Bond
   Issue Summons to:

   Kristopher Kneubuhler
   (Name)
   4866 Muirwood Drive
   Powder Springs, Georgia 30127
   (Address)

   ATTORNEY FOR DEFENDANT
   Steven Paul Berne
   (Name)
   1441 Dunwoody Village Parkway, Suite 100, Atlanta,
   Georgia 30338
   (Address)

   SURETY
   Deborah Kneubuhler
   (Name)
   4866 Muirwood Drive, Powder Springs, Georgia 30127
   (Address)


   Other defendants previously arraigned (or now set for arr.)

   Theodore S. Hertzberg
   Assistant U.S. Attorney
